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 9   Attorneys for Plaintiff
     Lafonzo R. Turner
10
11                             UNITED STATES DISTRICT COURT
12                        CENTRAL DISTRICT OF CALIFORNIA
13
14   LAFONZO R. TURNER,                       Case No.: 2:19-cv-03081-MWF-JPR
15
                     Plaintiff,               STIPULATED PROTECTIVE
16                                            ORDER
17         v.
18   A. GAFFNEY, et al.,
19
                     Defendant.
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      STIPULATED [PROPOSED]
      PROTECTIVE ORDER                            Case No.: 2:19-cv-03081-MWF-JPR
 1   1.    PURPOSES AND LIMITATIONS
 2         Disclosure and discovery activity in this action are likely to involve production
 3   of information that the producing entity or individual considers confidential,
 4   proprietary, or private and for which protection from public disclosure and from use
 5   for any purpose other than prosecuting this litigation may be warranted. This type of
 6   information, if it were made public, could be abused if its use were not limited to this
 7   lawsuit. In some cases, the information subject to this Order is also subject to state or
 8   local laws that limit the disclosure of such information. The parties therefore seek this
 9   Order in order to streamline and harmonize the production and treatment of
10   confidential information produced by both parties and by non-parties in this case.
11         Accordingly, the parties hereby stipulate to and petition the court to enter the
12   following Stipulated Protective Order. The parties acknowledge that this Order does
13   not confer blanket protections on all disclosures or responses to discovery and that the
14   protection it affords from public disclosure and use extends only to the limited
15   information or items that are entitled to confidential treatment under the applicable
16   legal principles. The parties further acknowledge, as set forth in Section 12.3, below,
17   that this Stipulated Protective Order does not entitle them to file confidential
18   information under seal; Local Rules 79-5, 79-6, and 79-7 set forth the procedures that
19   must be followed and the standards that will be applied when a party seeks permission
20   from the court to file material under seal.
21         2.     DEFINITIONS
22         2.1    Challenging Party: a Party or Non-Party that challenges the designation
23   of information or items under this Order.
24         2.2    “CONFIDENTIAL” Information or Items: information (regardless of
25   how it is generated, stored or maintained) or tangible things that qualify for protection
26   under Federal Rule of Civil Procedure 26(c).
27         2.3    Counsel: attorneys of a party to this action (as well as their support staff).
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      STIPULATED [PROPOSED]
      PROTECTIVE ORDER                             2      Case No.: 2:19-cv-03081-MWF-JPR
 1          2.4   Designating Party: a Party or Non-Party that designates information or
 2   items that it produces in disclosures or in responses to discovery as
 3   “CONFIDENTIAL.”
 4          2.5   Disclosure or Discovery Material: all items or information, regardless of
 5   the medium or manner in which it is generated, stored, or maintained (including,
 6   among other things, testimony, transcripts, and tangible things), that are produced or
 7   generated in disclosures or responses to discovery in this matter.
 8          2.6   Expert: a person with specialized knowledge or experience in a matter
 9   pertinent to the litigation who has been retained by a Party or its counsel to serve as an
10   expert witness or as a consultant in this action.
11          2.7   Non-Party: any natural person, partnership, corporation, association, or
12   other legal entity not named as a Party to this action.
13          2.8   Party: any party to this action, including all of its officers, directors,
14   employees, consultants, retained experts, and counsel (and their counsel’s support
15   staffs).
16          2.9   Producing Party: a Party or Non-Party that produces Disclosure or
17   Discovery Material in this action.
18          2.10 Professional Vendors: persons or entities that provide litigation support
19   services (e.g., photocopying, videotaping, translating, preparing exhibits or
20   demonstrations, and organizing, storing, or retrieving data in any form or medium)
21   and their employees and subcontractors.
22          2.11 Protected Material: any Disclosure or Discovery Material that is
23   designated as “CONFIDENTIAL.”
24          2.12 Receiving Party: a Party or Non-Party that receives Disclosure or
25   Discovery Material from a Producing Party.
26          3.    SCOPE
27          The protections conferred by this Stipulation and Order cover not only
28   Protected Material (as defined above), but also (1) any information copied or extracted

      STIPULATED [PROPOSED]
      PROTECTIVE ORDER                            3        Case No.: 2:19-cv-03081-MWF-JPR
 1   from Protected Material; (2) all copies, excerpts, summaries, or compilations of
 2   Protected Material; and (3) any testimony, conversations, or presentations by Parties
 3   or their Counsel that might reveal Protected Material. However, the protections
 4   conferred by this Stipulation and Order do not cover the following information: (a)
 5   any information that is in the public domain at the time of disclosure to a Receiving
 6   Party or becomes part of the public domain after its disclosure to a Receiving Party as
 7   a result of publication not involving a violation of this Order, including becoming part
 8   of the public record through trial or otherwise; and (b) any information known to the
 9   Receiving Party prior to the disclosure or obtained by the Receiving Party after the
10   disclosure from a source who obtained the information lawfully and under no
11   obligation of confidentiality to the Designating Party. Any use of Protected Material at
12   trial shall be governed by a separate agreement or order.
13         4.     DURATION
14         Even after final disposition of this litigation, the confidentiality obligations
15   imposed by this Order shall remain in effect until a Designating Party agrees
16   otherwise in writing or a court order otherwise directs. Final disposition shall be
17   deemed to be the later of (1) dismissal of all claims and defenses in this action, with or
18   without prejudice; and (2) final judgment herein after the completion and exhaustion
19   of all appeals, rehearings, remands, trials, or reviews of this action, including the time
20   limits for filing any motions or applications for extension of time pursuant to
21   applicable law.
22         5.     DESIGNATING PROTECTED MATERIAL
23         5.1    Exercise of Restraint and Care in Designating Material for Protection.
24   Each Party or Non-Party that designates information or items for protection under this
25   Order must take care to limit any such designation to specific material that qualifies
26   under the appropriate standards. The Designating Party must designate for protection
27   only those parts of material, documents, items, or oral or written communications that
28   qualify—so that other portions of the material, documents, items, or communications

      STIPULATED [PROPOSED]
      PROTECTIVE ORDER                           4        Case No.: 2:19-cv-03081-MWF-JPR
 1   for which protection is not warranted are not swept unjustifiably within the ambit of
 2   this Order.
 3         Mass, indiscriminate, or routinized designations are prohibited. Designations
 4   that are shown to be clearly unjustified or that have been made for an improper
 5   purpose (e.g., to unnecessarily encumber or retard the case development process or to
 6   impose unnecessary expenses and burdens on other parties) expose the Designating
 7   Party to sanctions.
 8         If it comes to a Designating Party’s attention that information or items that it
 9   designated for protection do not qualify for protection, that Designating Party must
10   promptly notify all other Parties that it is withdrawing the mistaken designation.
11         5.2     Manner and Timing of Designations. Except as otherwise provided in
12   this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
13   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
14   under this Order must be clearly so designated before the material is disclosed or
15   produced.
16         Designation in conformity with this Order requires:
17                 (a) for information in documentary form (e.g., paper or electronic
18   documents, but excluding transcripts of depositions or other pretrial or trial
19   proceedings), that the Producing Party affix the “CONFIDENTIAL” legend to each
20   page that contains protected material. If only a portion or portions of the material on a
21   page qualifies for protection, the Producing Party also must clearly identify the
22   protected portion(s) (e.g., by making appropriate markings in the margins).
23         A Party or Non-Party that makes original documents or materials available for
24   inspection need not designate them for protection until after the inspecting Party has
25   indicated which material it would like copied and produced. During the inspection and
26   before the designation, all of the material made available for inspection shall be
27   deemed “CONFIDENTIAL.” After the inspecting Party has identified the documents
28   it wants copied and produced, the Producing Party must determine which documents,

      STIPULATED [PROPOSED]
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 1   or portions thereof, qualify for protection under this Order. Then, before producing the
 2   specified documents, the Producing Party must affix the “CONFIDENTIAL” legend
 3   to each page that contains Protected Material. If only a portion or portions of the
 4   material on a page qualifies for protection, the Producing Party also must clearly
 5   identify the protected portion(s) (e.g., by making appropriate markings in the
 6   margins).
 7                (b) for testimony given in deposition or in other discovery-related
 8   proceedings, that the Designating Party identify on the record, before the close of the
 9   deposition or other proceeding, all protected testimony and specify the level of
10   protection being asserted. When it is impractical to identify separately each portion of
11   testimony that is entitled to protection and it appears that substantial portions of the
12   testimony may qualify for protection, the Designating Party may invoke on the record
13   (before the deposition or other proceeding is concluded) a right to have up to 21 days
14   to identify the specific portions of the testimony as to which protection is sought and
15   to specify the level of protection being asserted. Only those portions of the testimony
16   that are appropriately designated for protection within the 21 days shall be covered by
17   the provisions of this Stipulated Protective Order. Alternatively, a Designating Party
18   may specify, at the deposition or up to 21 days afterwards if that period is properly
19   invoked, that the entire transcript shall be treated as “CONFIDENTIAL.”
20                (c) for information produced in some form other than documentary and
21   for any other tangible items, that the Producing Party affix in a prominent place on the
22   exterior of the container or containers in which the information or item is stored the
23   legend “CONFIDENTIAL.” If only a portion or portions of the information or item
24   warrant protection, the Producing Party, to the extent practicable, shall identify the
25   protected portion(s) and specify the level of protection being asserted.
26                (d) for information produced prior to the entry of this protective order,
27   the Parties acknowledge that certain information has been previously disclosed (e.g.,
28   medical records and other disclosures) that would have been “CONFIDENTIAL” had

      STIPULATED [PROPOSED]
      PROTECTIVE ORDER                           6        Case No.: 2:19-cv-03081-MWF-JPR
 1   this Stipulated Protective Order been in effect at the time. The Parties shall treat all
 2   such prior disclosures as if they had been marked “CONFIDENTIAL” at the time of
 3   disclosure, and the Receiving Party represents and warrants that all such disclosures
 4   have been treated as if they had been marked “CONFIDENTIAL” prior to the entry of
 5   this Stipulated Protective Order.
 6         5.3    Inadvertent Failures to Designate. If timely corrected, an inadvertent
 7   failure to designate qualified information or items does not, standing alone, waive the
 8   Designating Party’s right to secure protection under this Order for such material.
 9   Upon timely correction of a designation, the Receiving Party must make reasonable
10   efforts to assure that the material is treated in accordance with the provisions of this
11   Order.
12         6.     CHALLENGING CONFIDENTIALITY DESIGNATIONS
13         6.1    Timing of Challenges. Any Party or Non-Party may challenge a
14   designation of confidentiality at any time that is consistent with the Court’s
15   Scheduling Order. Unless a prompt challenge to a Designating Party’s confidentiality
16   designation is necessary to avoid foreseeable, substantial unfairness, unnecessary
17   economic burdens, or a significant disruption or delay of the litigation, a Party does
18   not waive its right to challenge a confidentiality designation by electing not to mount a
19   challenge promptly after the original designation is disclosed.
20         6.2    Meet and Confer. The Challenging Party shall initiate the dispute
21   resolution process under Local Rule 37-1 et seq.
22         6.3    Joint Stipulation. Any challenge submitted to the Court shall be via a
23   joint stipulation pursuant to Local Rule 37-2.
24         The burden of persuasion in any such challenge proceeding shall be on the
25   Designating Party. Frivolous challenges, and those made for an improper purpose
26   (e.g., to harass or impose unnecessary expenses and burdens on other parties) may
27   expose the Challenging Party to sanctions. Unless the Designating Party has waived
28   the confidentiality designation by failing to file a motion to retain confidentiality as

      STIPULATED [PROPOSED]
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 1   described above, all parties shall continue to afford the material in question the level
 2   of protection to which it is entitled under the Producing Party’s designation until the
 3   court rules on the challenge.
 4         7.     ACCESS TO AND USE OF PROTECTED MATERIAL
 5         7.1    Basic Principles. A Receiving Party may use Protected Material that is
 6   disclosed or produced by another Party or by a Non-Party in connection with this case
 7   only for prosecuting, defending, or attempting to settle this litigation. Such Protected
 8   Material may be disclosed only to the categories of persons and under the conditions
 9   described in this Order. When the litigation has been terminated, a Receiving Party
10   must comply with the provisions of section 13 below (FINAL DISPOSITION).
11         Protected Material must be stored and maintained by a Receiving Party at a
12   location and in a secure manner that ensures that access is limited to the persons
13   authorized under this Order.
14         7.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless
15   otherwise ordered by the court, permitted in writing by the Designating Party, or
16   permitted by one of the exemptions in (a)-(e) of this section, a Receiving Party may
17   not review or receive information or items designated “CONFIDENTIAL.”
18   Information or items designated “CONFIDENTIAL” may only be received by,
19   reviewed by, or disclosed to:
20                (a) the Receiving Party’s counsel;
21                (b) Experts (as defined in this Order) of the Receiving Party to whom
22   disclosure is reasonably necessary for this litigation and who have signed the
23   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
24                (c) the court and its personnel;
25                (d) court reporters and their staff and Professional Vendors to whom
26   disclosure is reasonably necessary for this litigation and who have signed the
27   “Acknowledgment and Agreement to Be Bound” (Exhibit A); and
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      STIPULATED [PROPOSED]
      PROTECTIVE ORDER                           8        Case No.: 2:19-cv-03081-MWF-JPR
 1                (e) the author or recipient of a document containing the information or a
 2   custodian or other person who otherwise possessed or knew the information.
 3
           8.     PROTECTED MATERIAL SUBPOENAED OR ORDERED
 4
                  PRODUCED IN OTHER LITIGATION
 5
 6         If a Party is served with a subpoena or a court order issued in other litigation

 7   that compels disclosure of any information or items designated in this action as

 8   “CONFIDENTIAL,” that Party must:

 9                (a) promptly notify in writing the Designating Party. Such notification

10   shall include a copy of the subpoena or court order unless prohibited by law;

11                (b) promptly notify in writing the party who caused the subpoena or

12   order to issue in the other litigation that some or all of the material covered by the

13   subpoena or order is subject to this Protective Order. Such notification shall include a

14   copy of this Stipulated Protective Order; and

15                (c) cooperate with respect to all reasonable procedures sought to be

16   pursued by the Designating Party whose Protected Material may be affected.

17         If the Designating Party timely seeks a protective order, the Party served with

18   the subpoena or court order shall not produce any information designated in this

19   action as “CONFIDENTIAL” before a determination by the court from which the

20   subpoena or order issued, unless the Party has obtained the Designating Party’s

21   permission. The Designating Party shall bear the burden and expense of seeking

22   protection in that court of its confidential material—and nothing in these provisions

23   should be construed as authorizing or encouraging a Receiving Party in this action to

24   disobey a lawful directive from another court.

25         9.     A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
26                PRODUCED IN THIS LITIGATION
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      STIPULATED [PROPOSED]
      PROTECTIVE ORDER                           9        Case No.: 2:19-cv-03081-MWF-JPR
 1                (a) The terms of this Order are applicable to information produced by a
 2   Non-Party in this action and designated as “CONFIDENTIAL.” Such information
 3   produced by Non-Parties in connection with this litigation is protected by the
 4   remedies and relief provided by this Order. Nothing in these provisions should be
 5   construed as prohibiting a Non-Party from seeking additional protections.
 6                (b) In the event that a Party is required, by a valid discovery request, to
 7   produce a Non-Party’s confidential information in its possession, and the Party is
 8   subject to an agreement with the Non-Party not to produce the Non-Party’s
 9   confidential information, then the Party shall:
10                       (1) promptly notify in writing the Requesting Party and the Non-
11         Party that some or all of the information requested is subject to a confidentiality
12         agreement with a Non-Party;
13                       (2) promptly provide the Non-Party with a copy of the Stipulated
14         Protective Order in this litigation, the relevant discovery request(s), and a
15         reasonably specific description of the information requested; and
16                       (3) make the information requested available for inspection by the
17         Non-Party.
18                (c) If the Non-Party fails to object or seek a protective order from this
19   court within 14 days of receiving the notice and accompanying information, the
20   Receiving Party may produce the Non-Party’s confidential information responsive to
21   the discovery request. If the Non-Party timely seeks a protective order, the Receiving
22   Party shall not produce any information in its possession or control that is subject to
23   the confidentiality agreement with the Non-Party before a determination by the court.
24   Absent a court order to the contrary, the Non-Party shall bear the burden and expense
25   of seeking protection in this court of its Protected Material.
26         10.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
27         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
28   Protected Material to any person or in any circumstance not authorized under this

      STIPULATED [PROPOSED]
      PROTECTIVE ORDER                           10       Case No.: 2:19-cv-03081-MWF-JPR
 1   Stipulated Protective Order, the Receiving Party must immediately (a) notify in
 2   writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
 3   to retrieve all unauthorized copies of the Protected Material, (c) inform the person or
 4   persons to whom unauthorized disclosures were made of all the terms of this Order,
 5   and (d) request such person or persons to execute the “Acknowledgment and
 6   Agreement to Be Bound” that is attached hereto as Exhibit A.
 7         11.    INADVERTENT PRODUCTION OF PRIVILEGED OR
 8                OTHERWISE PROTECTED MATERIAL
 9         When a Producing Party gives notice to Receiving Parties that certain
10   inadvertently produced material is subject to a claim of privilege or other protection,
11   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
12   Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
13   may be established in an e-discovery order that provides for production without prior
14   privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the
15   parties reach an agreement on the effect of disclosure of a communication or
16   information covered by the attorney-client privilege or work product protection, the
17   parties may incorporate their agreement in the stipulated protective order submitted to
18   the court provided the Court so allows.
19         12.    MISCELLANEOUS
20         12.1 Right to Further Relief. Nothing in this Order abridges the right of any
21   person to seek its modification by the court in the future.
22         12.2 Right to Assert Other Objections. By stipulating to the entry of this
23   Protective Order no Party waives any right it otherwise would have to object to
24   disclosing or producing any information or item on any ground not addressed in this
25   Stipulated Protective Order. Similarly, no Party waives any right to object on any
26   ground to use in evidence of any of the material covered by this Protective Order.
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      STIPULATED [PROPOSED]
      PROTECTIVE ORDER                          11        Case No.: 2:19-cv-03081-MWF-JPR
 1         12.3 Filing Protected Material. Without written permission from the
 2   Designating Party or a court order secured after appropriate notice to all interested
 3   persons, a Party may not file in the public record in this action any Protected Material.
 4   A Party that seeks to file under seal any Protected Material must comply with Local
 5   Rule 79-5. Protected Material may only be filed under seal pursuant to a court order
 6   authorizing the sealing of the specific Protected Material at issue. If a Receiving
 7   Party’s request to file Protected Material under seal pursuant to Local Rule 79-5 is
 8   denied by the court, then the Receiving Party may file the information in the public
 9   record unless otherwise instructed by the court.
10         13.    FINAL DISPOSITION
11         Within 60 days after the final disposition of this action, as defined in paragraph
12   4, each Receiving Party must return all Protected Material to the Producing Party or
13   destroy such material. As used in this subdivision, “all Protected Material” includes
14   all copies, abstracts, compilations, summaries, and any other format reproducing or
15   capturing any of the Protected Material. Whether the Protected Material is returned or
16   destroyed, the Receiving Party must submit a written certification to the Producing
17   Party (and, if not the same person or entity, to the Designating Party) by the 60 day
18   deadline that (1) identifies (by category, where appropriate) all the Protected Material
19   that was returned or destroyed and (2) affirms that the Receiving Party has not
20   retained any copies, abstracts, compilations, summaries or any other format
21   reproducing or capturing any of the Protected Material. Notwithstanding this
22   provision, Counsel are entitled to retain an archival copy of all pleadings, motion
23   papers, trial, deposition, and hearing transcripts, legal memoranda, correspondence,
24   deposition and trial exhibits, expert reports, attorney work product, and consultant and
25   expert work product, even if such materials contain Protected Material. Any such
26   archival copies that contain or constitute Protected Material remain subject to this
27   Protective Order as set forth in Section 4 (DURATION).
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     STIPULATED [PROPOSED]
     PROTECTIVE ORDER                           12       Case No.: 2:19-cv-03081-MWF-JPR
 1   Dated: October 21, 2020             Baker Botts L.L.P.
 2
     /s/ Jeremy C. Doernberger              /s/ Sarah J. Guske
 3   Xavier Becerra                         Sarah J. Guske
 4   Attorney General of California         Peter K. Huston
     Deborah B. Wadleigh                    Makenzi A. Galvan
 5   Supervising Deputy Attorney General    BAKER BOTTS LLP
 6   Jeremy C. Doernberger                  101 California Street, Suite 3600
     Deputy Attorney General                San Francisco, CA 94111
 7                                          Telephone: (415) 291-6200
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     A. Junes, D. Lewis,
 9   J. Coleman, and D. Taylor
                                            Attorneys for Plaintiff
10   /s/ Kelly Savage Day                   Lafonzo R. Turner
     KELLY SAVAGE DAY
11
     Attorney for Defendant A. Gaffney
12
13
          PURSUANT TO THE STIPULATION, IT IS SO ORDERED.
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15
     DATED: October 21, 2020
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                                                 _______________________________
17                                               The Honorable Jean P. Rosenbluth
18                                               United States Magistrate Judge

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     STIPULATED [PROPOSED]
     PROTECTIVE ORDER                       13        Case No.: 2:19-cv-03081-MWF-JPR
 1                                         EXHIBIT A
 2            ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3         I, _____________________________ [print or type full name], of
 4   _________________ [print or type full address], declare under penalty of perjury that
 5   I have read in its entirety and understand the Stipulated Protective Order that was
 6   issued by the United States District Court for the Central District of California on
 7   ___________ [date] in the case of Turner v. Gaffney et al., case no. 2:19-cv-03081-
 8   MWF-JPR. I agree to comply with and to be bound by all the terms of this Stipulated
 9   Protective Order and I understand and acknowledge that failure to so comply could
10   expose me to sanctions and punishment in the nature of contempt. I solemnly promise
11   that I will not disclose in any manner any information or item that is subject to this
12   Stipulated Protective Order to any person or entity except in strict compliance with the
13   provisions of this Order.
14         I further agree to submit to the jurisdiction of the United States District Court
15   for the Central District of California for the purpose of enforcing the terms of this
16   Stipulated Protective Order, even if such enforcement proceedings occur after
17   termination of this action.
18         I hereby appoint __________________________ [print or type full name] of
19   _______________________________________ [print or type full address and
20   telephone number] as my California agent for service of process in connection with
21   this action or any proceedings related to enforcement of this Stipulated Protective
22   Order.
23   Date: ______________________________________
24   City and State where sworn and signed: _________________________________
25   Printed name: _______________________________
26
27   Signature: __________________________________
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      STIPULATED [PROPOSED]
      PROTECTIVE ORDER                          14        Case No.: 2:19-cv-03081-MWF-JPR
 1                                      ATTESTATION
 2         I, Sarah J. Guske, an ECF user whose ID and password are being used to file
 3   this document in compliance with C.D. Cal. Civil Local Rule 5-4.3.4(a)(2)(i), attest
 4   that all other signatories listed, and on whose behalf the filing is submitted, concur in
 5   the filing’s content and have authorized the filing.
 6
 7    Dated: October 21, 2020                   /s/ Sarah J. Guske
 8                                              Sarah J. Guske
                                                BAKER BOTTS LLP
 9                                              101 California Street, Suite 3600
10                                              San Francisco, CA 94111
                                                Telephone: (415) 291-6200
11                                              Facsimile: (415) 291-6300
12
                                                Attorneys for Plaintiff
13                                              Lafonzo R. Turner
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15
16                               CERTIFICATE OF SERVICE
17         I hereby certify that a true and correct copy of the above and foregoing
18   document has been served on all counsel of record via the Court’s Electronic Filing
19   System.
20
21   Dated: October 21, 2020                 Baker Botts L.L.P.
22
23                                           By: /s/ Sarah J. Guske
24                                                   Sarah J. Guske
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      STIPULATED [PROPOSED]
      PROTECTIVE ORDER                          15          Case No.: 2:19-cv-03081-MWF-JPR
